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                                  UNITED STATES DISTRICT COURT
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                                CENTRAL DISTRICT OF CALIFORNIA
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12    SAMAN SENEVIRATNE,                          ) CASE NO. CV 13-07744 MMM (PJWx)
                                                  )
13                        Plaintiff,              ) JUDGMENT FOR DEFENDANTS AND
                                                  ) COUNTERCLAIMANT
14                  vs.                           )
                                                  )
15    STOTSENBERG FOUNDATION,                     )
      SHOREWOOD REALTORS, STEVEN                  )
16    HEAVRIN, PALM WEST ESCROW,                  )
      INC., AND DOES 1 through 50,                )
17    Inclusive,                                  )
                                                  )
18                    Defendant(s).               )
      __________________________________          )
19    STOTSENBERG FOUNDATION,                     )
                                                  )
20                        Counterclaimant,        )
                                                  )
21                  vs.                           )
                                                  )
22    SAMAN SENEVIRATNE,                          )
                                                  )
23                        Counterdefendant.       )

24
25         On June 5, 2014, the court entered an order conditionally dismissing plaintiff Saman

26   Seneviratne’s case with prejudice and granting counterclaimant Stotsenberg Foundation’s motion

27   for summary judgment on its counterclaim. The court gave Seneviratne until June 10, 2014 to

28   accept the conditions the court placed on dismissal or to withdraw his motion to dismiss.
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 1   Seneviratne did not withdraw his motion by that date and thus accepted the conditions on dismissal
 2   set forth in the court’s order. Accordingly,
 3
 4          IT IS ORDERED AND ADJUDGED
 5          1.     That Seneviratne take nothing by way of his complaint;
 6          2.     That Stotsenberg recover its costs under Rule 54(d);
 7          3.     That Stotsenberg recover $12,835.00 in attorneys’ fees associated with its
 8                 successful application to expunge the lis pendens;
 9          4.     That Stotsenberg recover $158,054.80 in damages and prejudgment interest on its
10                 counterclaim;
11          5.     That, pursuant to 28 U.S.C. § 1961, the judgment bear post-judgment interest at
12                 the rate of 0.10% per year; and
13          6.      That the action be, and it is hereby, dismissed.
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15   DATED: June 11, 2014
                                                             MARGARET M. MORROW
16                                                        UNITED STATES DISTRICT JUDGE
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